        Case 2:23-cv-01218-JES-KCD                            Document 284-1                  Filed 04/04/25              Page 1 of 5 PageID
                                                                    6034
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Pernrit Inspection of Pre nises in a Civil Action


                                        UNITED STATES DISTRICT
                                                                            for the                      Certifie      cess Server - J Lee Vause, Jr.
                                                              Middle District of Florida                  2       dicial Circuit, Leon, Florida, ID #81

           DANESH NOSHIRVAN, an individual,                                    )                                                     Time ,J_a     A
                                                                                                                 l_ LI `
                               Plaintiff                                        )
                       v.                                                               Civil Action No. 2:23-cv-01218-JES-KCD
       JENNIFER COUTURE, an individual, RALPH                                  )
       GARRAMONE M.D., an individual, etc., et al.                             )
                                                                               )
                              Defendant                                         )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                         Google LLC, d/b/a YouTube
                                                       901 Cherry Avenue, San Bruno, CA 94066
                                                        (Name ofperson to whom this subpoena is directed)

    1~ Production: YOU ARE COIVIMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:     Please see attached schedule.


 Place: g01 Cherry Avenue, San Bruno, CA 94066                                           Date and Time:
        Copies may be emailed to:                                                                             04/20/2025 10:00 am

     CJ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               I Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:         03/13/2025

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                 /s/ Nicholas A. Chiappetta
                                           Signature of Clerk or Deputy Clerk                                          Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)     Plaintiff, Danesh
Noshirvan                                                                , who issues or requests this subpoena, are:
 Chiappetta Trial Lawyers, Nicholas A. Chiappetta, Esq., 2101 Vista Parkway, Suite 258, West Palm Beach, FL 33411;

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 2:23-cv-01218-JES-KCD                           Document 284-1                 Filed 04/04/25              Page 2 of 5 PageID
                                                                   6035
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Penmit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:23-cv-01218-JES-KCD

                                                    PROOF OF SERVICE
                     (This section should not befiled with the court unless required by FeaL R. Civ. P. 45.)

            I received this subpoena for (name ofindividual and title, if any)
on (date)

            IJ I served the subpoena by delivering a copy to the named person as follows:


                                                                                          on (date)                                    ; or

            lJ I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are $                                      for travel and $                             for services, for a total of $                0.00


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed nante and title




                                                                                                    Server's address

Additional information regarding attempted service, etc.:
       Case 2:23-cv-01218-JES-KCD                             Document 284-1                  Filed 04/04/25                 Page 3 of 5 PageID
                                                                    6036
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Infomiation, or Objects or to Pernut Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alteritative. In the circumstances
   (A)within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B)within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                            (i)shows a substantial need for the testimony or material that cannot be
     (i) is a party or a party's officer; or                                      otherwise met without undue hardship; and
     (ii)is commanded to attend a trial and would not incur substantial                (ii)ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Otlier Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 nules of where the person resides, is       procedures apply to producing documents or electronically stored
cmployed, or regularly transacts business in person; and                          information:
  (B) inspection of premises at the premises to be inspected.                        (A)Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B)Form for Prodtrcing Electronically Stored Infonnation Not Specified.
 (1) Avoiding Undrre Burden or Expense; Sanctions. A party or attorney            If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored brfonnation Prodttced in Only Oiie Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost eamings and reasonable attorney's fees—on a party or attomey who             information in more than one fonn.
fails to comply.                                                                     (D)Inaccessible Electronically Stored Infonnation. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Coiiiiiiand to Produce Materials or Permit ILsspection.                      from sources that the person identifies as not reasonably accessible because
   (A)Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Ohjection.s. A person commanded to produce documents or tangible           26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attomcy designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiaiing Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Infonnation Witliheld A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim tliat it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i)expressly make the claim; and
the following rules apply:                                                            (ii)describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly retum, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Rcquired On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii)requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv)subjects a person to undue burden.                                       (g) Contempt.
  (B) T3'hen Permitted. To protect a person subject to or affected by a           The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing courtmay hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 2:23-cv-01218-JES-KCD                       Document 284-1   Filed 04/04/25   Page 4 of 5 PageID
                                                       6037
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                                                                               ~RIAL ~LAWY~
                                                                               T         ERS
Product Defect l Injury l Defamation Insurance




                         SCHEDULE FOR SUBPOENA TO YOUTUBE


            PLEASE PROVIDE THE FOLLOWING DOCUMENTATION:
    1. Produce all basic subscriber information for any of Joseph A. Camp's
       profiles including any verifications. This request includes name,
       address, phone numbers, email addresses associated with accounts,
       and login Il' addresses from January 01, 2021, through March 13, 2025.
       Joseph A. Camp's accounts and emails are as follows:

                    a) YouTube profile
                       Name:                           Joseph A. Camp
                       Location:                       Mexico, Honduras, or Belize
                       Username:                       @josephcamp8732
                       Page:                           https: / /www.youtube.com/
                                                       @j'osephcamp8732/ about?app=desktop

                    b) Email addresses:
                         a. noshirvan@yandex.com
                         b. iosephacamp@yandex.com
                         c. camp'o~sepha@gmail.com
                         d. anamericanhostage@facebook.com
                         e. joey@joeycamp2020.com
                         f. jac13750@ucmo.edu
                         g. daneshfiles@yandex.com

                    c) Phone Number:
                               a. 720-454-5240
Case 2:23-cv-01218-JES-KCD        Document 284-1      Filed 04/04/25    Page 5 of 5 PageID
                                        6038



                          BUSINESS RECORDS AFFIDAVIT
STATE OF

COUNTY OF

      Before me, the undersigned authority, personally appeared
who first being swom by me, under penalty of perjury deposed and stated as follows:

      1.      My name is                     , and I am over twenty-one years of age. I
am of sound mind, and I am fully competent to make this Affidavit. The facts stated
herein are true and correct and are based upon my personal knowledge. I am the legal
custodian and keeper of records for                        (business name).

       2.     Attached hereto are          pages of records from said business concerning
                                 . Said business records attached hereto are true, accurate,
and complete   duplicates of the  original records in the custody of said business. I am a
custodian of the attached records, and I have authority to certify such records.

      3.      I certify that the attached business records are made and kept in the usual,
regular, and ordinary course of business. Said business records were made at or near the
time of the e3vent, transaction, occurrence, or condition recorded herein, or within a
reasonable time thereafter, by (or from information transmitted by) a person with
knowledge of those matters.

      4.    The source of the information in these records and the method and
circumstances of its preparation, establish the trustworthiness of the records, notes,
and/or reports.


                                                 AFFIANT

       SWORN TO AND SUBSCRIBED before me, the undersigned authority, on this
       day of        , 2024, by the Affiant.


                                                 Notary Public
                                                 (NOTARY SEAL)
My Commission Expires:
